       Case 2:16-cr-00239-MCE Document 67 Filed 04/02/18 Page 1 of 3



1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    JEROME PRICE, #282400
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax 916-498-5710
     Jerome_Price@fd.org
5
6    Attorney for Defendant
     LORAINE DIXON
7
                                 IN THE UNITED STATES DISTRICT COURT
8
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                      Case No. 2:16-CR-0239-MCE
11
                           Plaintiff,                STIPULATION AND ORDER
12                                                   TO CONTINUE STATUS CONFERENCE
                v.
13
      JOHN BREWER, et al,                             DATE:          March 29, 2018
14                                                    TIME           10:00 a.m.
                           Defendant.                 JUDGE:         Hon. Morrison C. England, Jr
15
16
               IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
17
     Attorney, through Matthew Yelovich Assistant United States Attorney, counsel for Plaintiff, and
18
     Heather Williams, Federal Defender, through Assistant Federal Defender Jerome Price, counsel
19
     for Robert Portune that the status conference scheduled for March 29, 2018 be vacated and
20
     continued to May 24, 2018 at 10:00 a.m.
21
               The continuance is requested to enable defense counsel to continue the fact investigation,
22
     discovery review, and legal research necessary to determine an appropriate resolution in this
23
     matter.
24
               Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
25
     excluded from this order’s date through and including May 24, 2018, pursuant to 18 U.S.C.
26
     §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
27
     based upon continuity of counsel and defense preparation.
28
      Stipulation and Order to Continue the Status     -1-             U.S. v Loraine Dixon, 2:16-cr-239-MCE
      Conference
      Case 2:16-cr-00239-MCE Document 67 Filed 04/02/18 Page 2 of 3



1
2                                                    Respectfully submitted,
3
     DATED: March 27, 2018                           HEATHER E. WILLIAMS
4                                                    Federal Defender
5
                                                     /s/ Jerome Price
6                                                    JEROME PRICE
                                                     Assistant Federal Defender
7                                                    Attorney for Loraine Dixon
8    DATED: March 27, 2018                           McGREGOR W. SCOTT
                                                     United States Attorney
9
10                                                   /s/ Matthew Yelovich
                                                     Matthew Yelovich
11                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      Stipulation and Order to Continue the Status     -2-            U.S. v Loraine Dixon, 2:16-cr-239-MCE
      Conference
       Case 2:16-cr-00239-MCE Document 67 Filed 04/02/18 Page 3 of 3



1
2                                                    ORDER
3            The Court, having reviewed and considered the parties’ stipulation, and good cause
4    appearing therefrom, adopts the parties’ stipulation in its entirety as its order. It specifically
5    finds the failure to grant a continuance in this case would deny counsel reasonable time
6    necessary for effective preparation, taking into account the exercise of due diligence. The Court
7    firtjer finds the ends of justice are served by granting the requested continuance and outweigh the
8    best interests of the public and defendant in a speedy trial.
9            Time from the date the parties stipulated, up to and including May 24, 2018, be excluded
10   from computation of time within which the trial of this case must be commenced under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv) [reasonable time for counsel
12   to prepare] and General Order 479, (Local Code T4). It is further ordered the March 29, 2018
13   status conference shall be continued until May 24, 2018, at 10:00 a.m. before District Judge
14   Morrison C. England, Jr.
15           IT IS SO ORDERED.
16
     Dated: March 30, 2018
17
18
19
20
21
22
23
24
25
26
27
28
      Stipulation and Order to Continue the Status     -3-              U.S. v Loraine Dixon, 2:16-cr-239-MCE
      Conference
